Case: 1:17-md-02804-DAP Doc #: 4837-1 Filed: 01/30/23 1 of 1. PageID #: 606025




 Exhibit 1 to Abbott Defendants’ Submission Pursuant to Docket No. 4801

                                                    No PFS in            No Service of
     Subdivision Name            MDL Case No.       Repository             Process
Bergen County, NJ             18-op-45616                            X
Buchanan County, VA           19-op-45253       X                    X
Burlington County, NJ         19-op-45928       X
Cumberland County, NJ         19-op-46016       X
East Baton Rouge Parish, LA   19-op-46164       X
Essex County, NJ              18-op-45989                            X
Hardin County, KY, et al.     20-op-45063       1 of the 5
                                                plaintiffs has not
                                                provided a PFS
                                                (Ohio County)
Hudson County, NJ             18-op-45937       X
Jefferson County, NY          19-op-45437                            X
Jersey City, NJ               18-op-45948                            X
Kinney County, TX             18-op-45241       X                    X
Mitchell County, TX           18-op-45063       X
Monmouth County, NJ           18-op-46118       X
Nolan County, TX              18-op-45061       X
Ocean County, NJ              19-op-46157       X
Passaic County, NJ            19-op-45741                            X
Russell City, KY, et al.      21-op-45094       X
Sussex County, NJ             19-op-45616                            X
Throckmorton County, TX       18-op-45141       X
Union County, NJ              19-op-45374       X
Williamson County, IL         19-op-45657       X
